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                             14                                UNITED STATES BANKRUPTCY COURT
      767 Fifth Avenue




                             15                                NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                             16

                             17                                               Bankruptcy Case No. 19-30088 (DM)
                             18     In re:                                    Chapter 11 (Lead Case) (Jointly Administered)
                             19     PG&E CORPORATION,                         NOTICE OF HEARING ON DEBTORS’
                                                                              MOTION PURSUANT TO 11 U.S.C. §§ 363 AND
                             20              - and -                          105(a) AND FED. R. BANKR. P. 6004
                                                                              AUTHORIZING DEBTORS TO PURCHASE
                             21     PACIFIC GAS AND ELECTRIC                  DIRECTORS AND OFFICERS INSURANCE
                                    COMPANY,
                             22                                               (THE “D&O INSURANCE MOTION”)
                                                                   Debtors.
                             23                                               [Relates to Dkt No. 2471]
                                     Affects PG&E Corporation
                             24      Affects Pacific Gas and Electric        Date: July 9, 2019
                                    Company                                   Time: 9:30 a.m. (Pacific Time)
                             25      Affects both Debtors                    Place: United States Bankruptcy Court
                                                                                     Courtroom 17, 16th Floor
                             26     * All papers shall be filed in the Lead          San Francisco, CA 94102
                                    Case, No. 19-30088 (DM).
                             27                                               Objection Deadline: July 2, 2019
                                                                                                  4:00 p.m. (Pacific Time)
                             28



                              Case: 19-30088           Doc# 2473   Filed: 06/10/19   Entered: 06/10/19 17:13:23    Page 1 of
                                                                               2
 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5           PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     July 9, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
 7
            PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
 8
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Debtors’ Motion Pursuant to 11
 9   U.S.C. §§ 363 and 105(a) and Fed. R. Bankr. P. 6004 Authorizing Debtors to Purchase Directors
     and Officers Insurance, filed by the Debtors on June 10, 2019 [Dkt. No. 2471] (the “Motion”).
10
             PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion must
11   be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
     above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on July 2,
12
     2019. Any oppositions or responses must be filed and served on all “Standard Parties” as defined in,
13   and in accordance with, the Second Amended Order Implementing Certain Notice and Case
     Management Procedures entered on May 14, 2019 [Dkt No. 1996] (“Case Management Order”).
14   Any relief requested in the Motion may be granted without a hearing if no opposition is timely
     filed and served in accordance with the Case Management Order. In deciding the Motion, the
15   Court may consider any other document filed in these Chapter 11 Cases and related Adversary
16   Proceedings.

17            PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
     can be viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov,
18   (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC , at
19   https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
20
     Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.
21
     Dated: June 10, 2019
22                                          WEIL, GOTSHAL & MANGES LLP
                                            KELLER & BENVENUTTI LLP
23
                                             /s/ Thomas B. Rupp
24                                           Thomas B. Rupp

25                                           Attorneys for Debtors and Debtors in Possession

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